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2    1007 7th Street, Suite 319
     Sacramento, California 95814
3    Telephone: (916) 442-5230
4    Attorney for:
     ISRAEL BALLARDO
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6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )      Case No.    2:10-cr-00078 MCE
                                   )
11                   Plaintiff,    )
                                   )
12        v.                       )      STIPULATION AND ORDER CONTINUING
                                   )      STATUS CONFERENCE
13   ISRAEL BALLARDO               )
     aka Ernesto Franco Alvarez,   )      DATE:     May 26, 2011
14        and                      )      TIME:     9:00 a.m.
     FREDDY LOAIZA                 )      COURT:    Hon. Morrison England, Jr.
15                                 )
                     Defendants.   )
16   ______________________________)
17                                  Stipulation
18        The parties, through undersigned counsel, stipulate that the
19   status conference, scheduled for May 26, 2011, may be continued to
20   July 7, 2011, at 9:00 a.m.   Attorney for defendant Israel Ballardo has
21   been in trial in an unrelated matter (People v. Baskin, 10F00039,
22   County of Sacramento).    While that trial is expected to end before the
23   May 26, 2011, status conference, counsel for Ballardo needs the
24   additional time requested in this stipulation to compose an offer of
25   settlement to the government. Composing the offer involves legal
26   research to justify the offer and locating supporting facts in the
27   discovery.   As a result, the defense needs additional time before a
28   meaningful status conference can be held.

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1    The parties also agree that time may be excluded from the speedy trial
2    calculation under the Speedy Trial Act for counsel preparation,
3    pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.
4         The parties have authorized the defense counsel for Israel
5    Ballardo to sign this stipulation on their behalf.
6
7    DATED: May 23, 2011                       BENJAMIN WAGNER
                                               United States Attorney
8
9                                     by       /s/ Scott N. Cameron, for
                                               Jill Thomas
10                                             Assistant U.S. Attorney
11
     DATED: May 23, 2011
12                                    by       /s/ Scott N. Cameron
                                               Scott N. Cameron
13                                             Counsel for ISRAEL BALLARDO
14
     DATED: May 23, 2011
15                                    by       /s/ Scott N. Cameron, for
                                               Dina Santos
16                                             Counsel for FREDDY LOAIZA
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1                                       ORDER
2         Good cause appearing, the status conference, scheduled for
3    May 26, 2011, is continued to July 7, 2011, at 9:00 a.m.
4         Time is excluded from the speedy trial calculation pursuant to
5    18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for counsel
6    preparation.
7         IT IS SO ORDERED.
8
     Dated: May 24, 2011
9
10                                      _____________________________
11                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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